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    I                                                                         United States Bankruptcy Court                                                                            Voluntary Petition

                                                                                  District of Arizona

         Name ot777omx], :tbLast, First, m R k °G C                                                                                  Name of Joint Debtor(Spouse)(Last, First, Middle)

         All Other Names used by the Debtor in the last 8 yeQrs                                                                      All Other Names used by the Joint Debtor in the last 8 years

         (include married, maiden, and trade names):                                                                                 (include married, maiden, and trade names):




         Last four digits of Soc. Sec. or lndvidual-Taxeayer I.D. (ITIN) No./Complete EJN                                            Last four digits of Soc. Sec. or Indvidual-Taxpayer I-D. (lTlN) No./Complete ElN

         (if more than one, state all)'                                 CAS / r7                                                     (if more than one, state ail):


         Street Address of Debtor (No. and Street, City, and State):                                                                 Street Address ofjoint Debtor (No. and Street, City, and State):


         lmoi l' 33* """                                                                              9s,>q_                              f3"16593
          Pax     A7,                                                                               "" '°"'                                                                                                  "" "°"'
         County omekrmcipa] Place of Business:                                                                                       County of Residence or ofthe Principal Place of Business:


         Mailing Address of Debtor (jfdifferent from street address):                                                                Mailing Address of Jojnt Debtor (if different from street address):




                                                                                                    ZIP CODE                                                                                                 ZIP CODE
         Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                             ZIP CODE

                                                  Type of Debtor                                               Nature of Business                                    Chapter of Bankruptcy Code Under Which
                                           (Form of Organization)                               (Check one box.)                                                        the Petition is Filed (Check one box.)
                                                 (Check one box.)
        XI                      il         li         ]           ' f         f                 B        Health Care Business             _               O     Chapter 7                CI    Chapter 15 Petition for
                          nd v'dua ( nc udes Jojnt Debtors)                                     a        Single Asset Real Estate as defined in           D     Chapter 9                      Recognition of a Foreign
                       See Exhibit D on page 2 o this orm.                                               li U.S.C. § 101(51B)                             O     Chapter li                     Main Proceeding
         O              Corporation (includes LLC and LLP)                                      D        Railroad                                         D     Chapter 12               O     Chapter 15 Petition for
         O              Partnership                                                             R        Stockbroker                                  * Chapter 13                             Recognition ofa Foreign
         O              Other (If debtor is not one of the above entities,                      a        Commodity Broker                                                                      Nonmain Proceeding
                        check this box and state type of entity below.)                         B        Clearing Bank
                                                                                                R        Other                                                                          Nature of Debts
                                                                                                                                                                                        (Check one box.)
                                                                                                               Tax-Exempt Entity                      X          t      1      i   11    ..
                                                                                                            (Check box, if applicable.)                       Debts are primarily consumer               O Debts are primarily
                                                                                                                                                               eb s, def'ned n     USC                      business debts.
                                                                                                D        Debtor is a tax-exempt organization                  § 101(8) as "incurred by an
                                                                                                         under Title 26 of the United States                  individual primarily for a
                                                                                                         Code (the Internal Revenue Code).                    personal, family, or house-
                                                                                                                                                              hold purpose."

                                                                   Filing Fee (Check one box.)                                                                              Chapter li Debtors
                                                                                                                                     Check one box:
         a              Full Filing Fee attached.                                                                                    O        Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).

    ZFiling Fee to be paid in installments (applicable to individuals only). Must attach                                             D        Debtor is not a small business debtor as defined in 1 l U,S,C. § 101(51D).

                        signed application for the court's consideration certifj'ing that the debtor is
                        unable to pay fee except in installments. Rule l006(b). See Official Form 3A.                                Check if:
                                                                                                                                     O   Debtor's aggregate noncontingent liquidated debts (excluding debts owed to

          [J            Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                                      insiders or affiliates) are less than $2,190,000.
                        attach signed application for the court's consideration. See Official Form 3B.                               --------------------"---""""""""""-
                                                                                                                                     Check all applicable boxes:
                                                                                                                                     D    Aplanisbeingfiledwiththispetition.
                                                                                                                                     a        Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                                                              of creditors, in accordance with ] 1 U.S.C. § l l 26(b).

         Statistical/Administrative Information                                                                                                                                                                            this SPACE is for
                                                                                                                                                                                                                           COURT USE ONLY

          [jj                        Debtor estimates that funds wi ll be available for distribution to unsecured creditors-                                                                   f                       "6
    %                                Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available or                                               -b

                                     distribution to unsecured creditors                                                                                                                                    Nes                      .e
          es "mated Number of Creditors                                                                                                                                                        D            e%",a                   ej

                                      50-99                  100-199               200-999     1,000-           5,001-          10,001-             25,001-             50,001-                     " .\& "}                    b
                                                                                               5,000            !0,000          25,000              50,000              100,000                100.0©4 :                        b


    ,Esjimated aE'                                           a            '        B           R                 [J              a                  A                   [J                     Qji'S-"'                     :             '
         L0                           $50,001 tO             $100,001 tO           $500,001    $1,000,001       $10,000,001     $50,000,001         $100,000,001        $500,000,001           ~" ""                       %         b
          $50,000                     $100,000               $500,000              to SI       to $10           to $50          to $100             to $500             to $] billion         ,g.i i°"                3             Cj
                                                                                   million     million          million         million             milhon                                                       Ii
                                                                                                                                                                                                             C-m.


          Estimated Liabilities                             k 1                                                                                                                                             Q:

          a                            a                    7l,                    d           ci                n               a                  ci                  a                      n                  -
          $0 tO                       $50,001 to             $10v,001 to           $500,001    $1,000,001        $10,000,001     $50,000,001        $100,000,001        $500,000,001           More than
          $50,000                      $100,000              $500,000              to $1       to $10            to $50          to $100            to $500             to $1 billion          $1 billion
                                                                                   million     million           million         million            rmllion
                                      Case 2:13-bk-16593-PS                                        Doc 1 Filed 09/24/13 Entered 09/24/13 08:54:41                                                                      Desc
                                                                                                        Petition Page 1 of 3
                                                                                                                                                                                      Page 2
r   B } (Official Form 1) ( 1/08)
     Voluntary Petition                                                                                   Name of Debtor(s):
     (This page must be completed and/i/ed in even' case.)

                                            All Prior bnkruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)

     Location                                                                                            Case)'l mber:                                      Date Filed:

     WhereFiled            A/Y                Ajy                                                            t/'- %/G 3
     Location                                                                                            Case,jqumber:                                      Date Filed:

     Where Filed-                                                                                            /O — 39// 4
                           Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet-)

     Name of Debtor:                                                                                     Case Number:                                       Date Filed:



     District:                                                                                           Relationship:                                      Judge:
                                  District of Arizona

                                                ExhibitA                                                                                      ExhibitB
                                                                                                                              (To be completed if debtor is an individual
     (To be completed if debtor is required to file periodic reports (eg., forms 10K and                                     whose debts are primarily consumer debts.)
     10Q) wnh the Securities and Exchange Commjssion pursuant to Section 13 or 15(d)
     ofthe Securities Exchange Act of 1934 and is requesting relief under chapter l ] .)                 ], the attorney for the petittoner named j]] the foregoing petition, declare that J
                                                                                                         have informed the petitioner that {he or she] may proceed under chapter 7, l ],
                                                                                                          !2, or 13 of tjtie l 1, United States Code, and have explained the relief
                                                                                                         available under each such chapter.     I further certify that l have dehvered to the
                                                                                                         debtor the notice required by 1 l U.S C. § 342(b)-


     n       Exhibit A is attached and made a part of this petition.                                     X

                                                                                                             Signature of Attorney for Debtor(s)         (Date)



                                                                                             Exhibit C


     Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and Aentifiable harm to public health or safety'?


     D       Yes, and Exhibit C is attached and made a part ofthis peMon.


    y~No.


                                                                                            Exhibit D


    (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

     y~Exhibit D completed and signed by the debtor is attached and made a part of this petition.



    Ifthis is ajoint petition:


         D       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.




                 W            t                                          Information Regarding
                                                                                  (Check       the Debtorbox
                                                                                         any applicable   - Venue
                                                                                                             )

                          Deb or has been domiciled or has had a remdence, principal place of business, or principal assets in this District for 1 80 days immediately
                          preceding the date of this petition or for a longer part of such ] 80 days than in any other District.


                  O       There is a bankruptcy case concerning debtor's afjiliate, general partner, or partnership pending in this lhstrict.


                 D        Debtor is a debtor in a foreign proceeding and has its principal place of business or prmcipal assets in the United States in this District, or

                          has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
                          th]s Distnct, or the interests ofthe parties will be served in regard to the relief sought m this District.




                                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                  (Check all apphcable boxes-)


                 R           Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)




                                                                                                         (Name of landlord that obtained judgment)




                                                                                                         (Address of landlord)


                 D           Debtor claims that under applicable nonbankruptcy law, there are circumstances under vvhtch the debtor would be permitted to cure the

                            entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and


                 a          Debtor has included with tjjjs petition the deposit with the court of any rent that would become due during the 30-day period after the

                            filing of the petnion.


                 D          Debtor certifies that he/she has served the Landlord with th]s certification. (1 1 U.S.C. § 362(1)).




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                                                                         Petition Page 2 of 3
jf
      B l (Official Form) l (1/08)                                                                                                                                         Page 3

      Voluntary Petition                                                                          Name of Debtor(s):
      (This page must be compieteci andjiled in every case.)
                                                                                          Signatures

                           Signature(s) of Debtor(s) (lndividual/joint)                                                   Signature of a Foreign Representative


     ! declare under penalty of perjury that the inforination provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is true
     and correct.                                                                                 and correct, that I am the foreign representative of a debtor in a fomgn proceeding,
     [If petitioner ts an individual whose debts are primarily consumer debts and has             and that I am authorized to file this petition.
     chosen to file under chapter 7] l am aware that I may proceed under chapter 7, l 1, 12
                                                                                                  (Check only one box.)
     or ] 3 of title I ], United States Code, understand the relief availabk under each such
     chapter, and choose to proceed under chapter 7.
                                                                                                  O    I request relief in accordance with chapter ! 5 of title ] }, United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the petiUon] I            Certified copies ofthe documents required by l 1 U.S.C. § 15 1 5 are attached
     have obtained and read the nobce required by 1 1 U.S.C. § 342(b)-
                                                                                                  [J   Pursuant to l 1 U.S.C. § 1 5 ] 1, ] request relief in accordance with the
     x  4,g'aufe%'f2ebto,
     I requeske.l,'            )4/'
                    in accordanX Tj m                 "' er o " title
                                                  e cyal)       .     1 l, Umted States Code,     X (S,gnature of Foreign
                                                                                                      chapter oftitle       Representative)
                                                                                                                      ] ] specified in this petition. A certified copy ofthe
     specif' d " t s pet' on.     lh                 V                                                 order granting recognition of the fbreign main proceeding is attached.




     X
           Signature ofjoint De)t°'(bn A                 8 Q G " O ~<7 /)                              (Printed Name ofForeign Representative)




                                         Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer


     X                                                                                            I declare under penalty of perjury that:     ( 1) I am a bankruptcy petition preparer as
           Signature of Attorney for Debtor(s)                                                    defined in 1 ] U.S-C. § ] 10: (2) I prepared this document for compensation and have
                                                                                                  provided the debtor with a copy of this document and the notices and information
           Printed Name of Attorney for Debtor(s)                                                 required under li      U.S.C. §§ l10(b), l lO(h), and 342(b); and, (3) if rules or
                                                                                                  guidelines have been promulgated pursuant to 1 ] U.S.C. § 1 lO(h) setting a maximum
           Firm Name                                                                              fee for services chargeable by bankruptcy petition preparers, I have given the debtor
                                                                                                  notice of the maximum amount before preparing any document for filing for a debtor
           Address                                                                                or accepting any fee from the debtor, as required in that section. Official Form 19 is
                                                                                                  attached.




          Telephone Number                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer


          Date                                                                                         Social-Security number (If the bankruptcy petition preparer is not an individual,
                                                                                                       state the Social-Security number of the officer, principal, responsible person or
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a.                    partner of the bankruptcy petition preparer-) (Required by l ] U.S.C. § 1 10.)
     certification that the attorney has no knowledge after an inquiry that the iniormation
     in the schedules is incorrect.

                                                                                                       Address
                        Signature of Debtor (Corporation/Partnership)


     I declare under penalty of perjury that the information provided in this petition is true    X
     and correct, and that I have been authorized to file this jjetjtion on behalf of the
     debtor.
                                                                                                       Date
     The debtor requests the relief in accordance with the chapter of title 1 l, United States
     Code, specified in this petition.                                                            Signature of bankruptcy petition preparer or officer, principal, responsible person, or
                                                                                                  partner whose Social-Security number is provided above.
     X
          Signature of Authorized Individual                                                      Names and Social-Security numbers of all other individuals who prepared or assisted

                                                                                                  in preparing this document unless the bankruptcy petition preparer is not an
          Printed Name of Authorized individual
                                                                                                  individual.

          Title of Authorized Individual
                                                                                                  If more than one person prepared this document, attach additional sheets conforming

          Date                                                                                    to the appropriate official form for each person.


                                                                                                  A bankruptcy petition preparer 'sfailure to comply with the provisions oftitle / / and
                                                                                                  the Federal Rules of Bankruptcy Procedure may result in Jines or imprisonment or
                                                                                                  both. 1/ U.S.C. §//0: /8 U.S.C.§l56.




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